Case 2:20-cv-00470-GMS Document 27-3 Filed 04/24/20 Page 1of5

EXHIBIT

 
“esa Case 2:20-cv-00470-GMS Document 27-3 Filed 04/24/20 Page 2 of S

Facebook W Twitter

 

 

This project is co-funded
GDPR. EJ by the Horizon 2020 Framework Search...

Programme of the European Union

 

 

Home Checklist FAQ GDPR News & Updates

GDPR fines are designed to make non-compliance a costly mistake for both large and small businesses. In this article we'll
talk about how much is the GDPR fine and how regulators determine the figure.

The European Union’s General Data Protection Regulation (GDPR) was designed to apply to all types of businesses, from
multi-nationals down to micro-enterprises. The fines imposed by the GDPR under Article 83 are flexible and scale with the
firm. Any organization that is not GDPR compliant, regardless of its size, faces a significant liability.

Below we will look at the administrative fine structure, how fines are assessed, and which infringements can incur penalties.
This is not a guide on how to avoid GDPR fines (you can find our GDPR compliance checklist here). Rather it's a brief primer
on the financial exposure organizations face for non-compliance.

Two tiers of GDPR fines

The GDPR states explicitly that some violations are more severe than others.

The less severe infringements could result in a fine of up to €10 million, or 2% of the firm’s worldwide annual revenue from
the preceding financial year, whichever amount is higher. They include any violation of the articles governing:

¢ Controllers and processors (Articles 8, 11, 25-39, 42, and 43) — Organizations that collect and control data (controllers)
and those that are contracted to process data (processors) must adhere to rules governing data protection, lawful basis
for processing, and more. As an organization, these are the articles you need to read and adhere to.

e Certification bodies (Articles 42 and 43) — Accredited bodies charged with certifying organizations must execute their
evaluations and assessments without bias and via a transparent process.

* Monitoring bodies (Article 41) — Bodies that have been designated to have the appropriate level of expertise must
demonstrate independence and follow established procedure in handling complaints or reported infringements in an
impartial and transparent manner.

The more serious infringements go against the very principles of the right to privacy and tl
the heart of the GDPR. These types of infringements could result in a fine of up to €20 mill
annual revenue from the preceding financial year, whichever amount is higher. These inclt
governing:

* The basic principles for processing (Articles 5, 6 and 9) — Data processing must be dc

https:!'gdpr.eu/fines 14
4/23/2020 What are the GD

Case 2:20-cv-00470-GMS Document 27-3 Filed 04/24/20 Page 3 of 5

Facebook W Twitter

 

This project is co-funded
GDPR. EJ by the Horizon 2020 Framework Search...

Programme of the European Union

 

 

 

Home Checklist FAQ GDPR News & Updates

must decide that that country or organization ensures an adequate level of protection. The transfers themselves must
be safeguarded.

They also include:

« Any violation of member state laws adopted under Chapter IX — Chapter IX grants EU member states the ability to pass
additional data protection laws as long as they are in accordance with the GDPR. Any violation of these national laws
also faces GDPR administrative fines.

« Non-compliance with an order by a supervisory authority — If an organization fails to comply with an order from the
monitoring bodies of the GDPR, they have set themselves up to face a huge fine, regardless of what the original
infringement was.

And these are just the administrative fines. Article 82 gives data subjects the right to seek compensation from organizations
that cause them material or non-material damage as a result of a GDPR infringement.

How much is a GDPR fine?

Under the GDPR, fines are administered by the data protection regulator in each EU country. That authority will determine
whether an infringement has occurred and the severity of the penalty. They will use the following 10 criteria to determine
whether a fine will be assessed and in what amount:

e Gravity and nature — The overall picture of the infringement. What happened, how it happened, why it happened, the
number of people affected, the damage they suffered, and how long it took to resolve.

* Intention — Whether the infringement was intentional or the result of negligence.

* Mitigation — Whether the firm took any actions to mitigate the damage suffered by people affected by the
infringement.

« Precautionary measures — The amount of technical and organizational preparation the firm had previously
implemented to be in compliance with the GDPR.

® History — Any relevant previous infringements, including infringements under the Data Protection Directive (not just
the GDPR), as well as compliance with past administrative corrective actions under the GDPR.

« Cooperation — Whether the firm cooperated with the supervisory authority to discover and remedy the infringement.

* Data category — What type of personal data the infringement affects.

* Notification — Whether the firm, or a designated third party, proactively reported the infringement to the supervisory
authority.

¢ Certification — Whether the firm followed approved codes of conduct or was previously certified.

e Aggravating/mitigating factors — Any other issues arising from circumstances of the case, including financial benefits
gained or losses avoided as a result of the infringement.

If regulators determine an organization has multiple GDPR violations, it will only be penali:
provided all the infringements are part of the same processing operation.

Data controller’s responsibility

Many companies use third parties, like email or cloud storage services, to handle their dat:
adhering ta the GNPP if the third narty hac a hicher tachnalnairal ranarity it dnac nat ahe

https:!'gdpr.eu/fines aid
saszs20 Case 2:20-cv-00470-GMS Document27-3 Filed 04/24/20 Page 4 of 5
EEacebook

 

W Twitter
This pi is co-funded oy
GDPR.EU by the Horizon 2 2 Panes Search... Q. Search

 

 

 

Home Checklist FAQ GDPR News &Updates

The GDPR’s stiff fines are aimed at ensuring best practices for data security are too costly not to adopt. While it remains to be
seen how fines will be applied by different EU member states, these fines loom for any organization not making strides to
ensure GDPR compliance.

Leave a Reply

Your email address will not be published. Required fields are marked *

Comment

 

 

 

 

Name *

 

 

 

Email *

 

 

Website

 

 

 

 

Post Comment

 

 

Ben Wolford
Editor in Chief, GDPR EU / / /
- - GDPR compliance is easier
A journalist by training, Ben has reported and covered stories around the world, / .
the fight for data privacy. with encrypted email
We use cookies to ensure that we give you the best experience on our website. If you continue to use this site we will assume that you are happy with it.
Ok No Privacy policy

https:!'gdpr.eu/fines ad
4/23/2020

Case 2:20-cv-00470-GMS Document 27-2 Filéd 04/24/20 Page 5 of 5
Eilfacebook

 

¥ Twitter
This pi is co-funded oy
GDPR.EU by te Horizon 2020 Framewerk Search... Q Search

 

 

 

Home Checklist FAQ  GDPR News &Updates

GDPR can be found here. Nothing found in this portal constitutes legal advice.

 

Getting Started

What is GDPR?

Templates

Data Processing
Agreement

Technical Review

Data Protection Office
Guide

About Us

GDPR.eu is co-funded by
the Horizon 2020

What are the GDPR Fines?
Framework Programme of

Right to E R t .
Benito Srastrenequest the European Union and

GDPR and Email
GDPR Compliance Checklist

 

Form
Does GDPR apply outside operated by Proton
Writing a GDPR-compliant of the EU Technologies AG.
- .
GDPR Forms and Templates
| Data Processing Agreement > (| Right to Erasure Request Form > | Privacy Policy >
© 2020 Proton Technologies AG. All Rights Reserved.
Terms and Conditions Privacy Policy
GDPR compliance is easier
with encrypted email
We use cookies to ensure that we give you the best experience on our website. If you continue to use this site we will assume that you are happy with it.

Ok No Privacy policy

https://gdpreusfines
